Case 22-19361-MBK Doc 2426 Filed 11/07/24 Entered 11/07/24 11:03:33 Desc Main

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UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY

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Self-Represented

In Re:
BLOCKFI INC., et al.,

Debtors.

Page 1 of 1

U.S. BANKRUPTCY COURT
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SEANHG A.

Case No.: 22-19361 (MBK)
(Jointly Administered)

Chapter 11
Hearing Date: Nov. 7, 2024, 11:30 a.m, E.T.

Judge: The Honorable Michael B. Kaplan

GEORGE J. GERRO’S DEMAND FOR A JURY TRIAL

George J. Gerro respectfully demands a jury trial on all triable issues in connection with

Wind Down Debtors’! Notice of Wind-Down Debtors’ Motion For Entry Of An Order To Show

Cause Why George Gerro Should Not Be Found In Contempt And For Sanctions And In The

Alternative, Motion To Enforce The Confirmation Order [Docket No, 2412] (“Motion”).

Burbank, California
Dated: October 31, 2024

/s/ George J. Gerro

George J. Gerro, Esq.

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Phone: (818) 845-3030

Self Represented

! The Debtors in these Chapter 11 cases, along with the last four digits of each Debtor’s federal
tax identification number, are: BlockFi Inc. (0015); BlockFi Trading LLC, (2487); BlockFi
Lending LLC (5017); BlockFi Wallet LLC (3231); BlockFi Ventures LLC (9937); BlockFi
International Ltd. (N/A); BlockFi Investment Products LLC (2422); BlockFi Services, Inc.
(5965) and BlockFi Lending II LLC (0154). The location of the Debtors’ service address is c/o
M3 Partners, 1700 Broadway, 19‘ Floor, New York, NY 10019.

